                                                                                  Case 8:18-bk-13010-SC    Doc 186 Filed 06/02/21 Entered 06/02/21 15:45:05      Desc
                                                                                                            Main Document    Page 1 of 24


                                                                                   1 Reem J. Bello, State Bar No. 198840
                                                                                     rbello@wgllp.com
                                                                                   2 WEILAND GOLDEN GOODRICH LLP
                                                                                     650 Town Center Drive, Suite 600
                                                                                   3 Costa Mesa, California 92626
                                                                                     Telephone: (714) 966-1000
                                                                                   4 Facsimile:   (714) 966-1002

                                                                                   5 Attorneys for Chapter 7 Trustee,
                                                                                     Jeffrey I. Golden
                                                                                   6

                                                                                   7

                                                                                   8                        UNITED STATES BANKRUPTCY COURT

                                                                                   9                          CENTRAL DISTRICT OF CALIFORNIA

                                                                                  10                                    SANTA ANA DIVISION

                                                                                  11 In re                                      Case No. 8:18-bk-13010-SC
Weiland Golden Goodrich LLP




                                                                                  12 LIEZL DIAZ DEOCAMPO AND JULIUS B.          Chapter 7
                                                                                     DEOCAMPO,
                         Te l ( 7 14) 96 6- 10 0 0 F ax ( 7 14) - 9 66 - 1 0 02
                              65 0 T o w n Ce nt er Dr iv e, Su i te 6 0 0




                                                                                  13                                            SECOND AND FINAL APPLICATION FOR
                                 Cos ta Mes a, C a l if or n i a 9 26 2 6




                                                                                                          Debtors.              ALLOWANCE AND PAYMENT OF FEES
                                                                                  14                                            AND REIMBURSEMENT OF EXPENSES
                                                                                                                                OF COUNSEL FOR THE CHAPTER 7
                                                                                  15                                            TRUSTEE; MEMORANDUM OF POINTS
                                                                                                                                AND AUTHORITIES; AND DECLARATION
                                                                                  16                                            OF REEM J. BELLO IN SUPPORT

                                                                                  17                                            [No hearing scheduled]

                                                                                  18

                                                                                  19

                                                                                  20

                                                                                  21

                                                                                  22

                                                                                  23

                                                                                  24

                                                                                  25

                                                                                  26

                                                                                  27

                                                                                  28
                                                                                       1327000.1                                1                           FEE APPLICATION
                                                                                  Case 8:18-bk-13010-SC       Doc 186 Filed 06/02/21 Entered 06/02/21 15:45:05            Desc
                                                                                                               Main Document    Page 2 of 24


                                                                                   1 TO THE HONORABLE SCOTT C. CLARKSON, UNITED STATES BANKRUPTCY

                                                                                   2 JUDGE:

                                                                                   3           Weiland Golden Goodrich LLP (the “Firm”), counsel for Jeffrey I. Golden, the

                                                                                   4 Chapter 7 trustee (the “Trustee”) for the bankruptcy estate (the “Estate”) of Liezl Diaz

                                                                                   5 Deocampo and Julius B. Deocampo (the “Debtors”), submits its second and final

                                                                                   6 application for allowance and payment of fees and reimbursement of expenses for the

                                                                                   7 period from November 26, 2020 through May 18, 2021 (the “Application”) pursuant to

                                                                                   8 11 U.S.C. §§ 330 and 331. In support of the Application, the Firm submits the attached

                                                                                   9 Declaration of Reem J. Bello (the “Bello Declaration”).

                                                                                  10

                                                                                  11 I.        INTRODUCTION
Weiland Golden Goodrich LLP




                                                                                  12           During this case, the Firm assisted, advised, and represented the Trustee in
                         Te l ( 7 14) 96 6- 10 0 0 F ax ( 7 14) - 9 66 - 1 0 02
                              65 0 T o w n Ce nt er Dr iv e, Su i te 6 0 0




                                                                                  13 (i) analyzing Debtor’s assets and liabilities, and advising the Trustee on these matters,
                                 Cos ta Mes a, C a l if or n i a 9 26 2 6




                                                                                  14 (ii) developing strategy for recovering assets, including real property occupied by assisted

                                                                                  15 living tenants, (iii) obtaining cooperation from the Debtors for the turnover and

                                                                                  16 administration of Estate assets; (iv) negotiating and documenting an agreement for the

                                                                                  17 preservation of real property, (v) negotiating, documenting and obtaining approval of an

                                                                                  18 agreement with Debtors for their purchase of the Estate’s equity in real property,

                                                                                  19 (vi) analyzing filed claims, (vii) employing the Estate’s professionals, and (vii) the legal

                                                                                  20 aspects of the administration of the Estate.

                                                                                  21           The Firm’s efforts were necessary and have provided a significant benefit to the

                                                                                  22 Estate in the form of $335,000 paid to the Estate from Debtors’ purchase of the equity in

                                                                                  23 real property which will allow the Trustee to pay, a significant distribution on all allowed

                                                                                  24 general unsecured claims. The Trustee will pay in full all administrative claims and

                                                                                  25 expenses, including professional fees and expenses. The Trustee will be making

                                                                                  26 approximately a 95% distribution to all allowed general unsecured claims. Given the

                                                                                  27 benefit provided and the reasonableness of the fees, the Firm is entitled to compensation

                                                                                  28 as set forth in this Application. Accordingly, the Firm requests that the Court approve this
                                                                                       1327000.1                                     2                              FEE APPLICATION
                                                                                  Case 8:18-bk-13010-SC        Doc 186 Filed 06/02/21 Entered 06/02/21 15:45:05            Desc
                                                                                                                Main Document    Page 3 of 24


                                                                                   1 Application, and allow $3,390.78 in attorney’s fees and expenses for the period from

                                                                                   2 November 26, 2020 through May 18, 2021, on a final basis.

                                                                                   3

                                                                                   4 II.       STATEMENT OF FACTS

                                                                                   5           Debtors filed a voluntary petition under Chapter 13 of the Bankruptcy Code on

                                                                                   6 August 16, 2018 (the "Case"). The Case was converted to one under Chapter 7 on

                                                                                   7 March 20, 2019, and Jeffrey I. Golden was appointed the Chapter 7 trustee.

                                                                                   8           Debtors’ schedules list the real property located at 14332 Holt Avenue, Santa Ana,

                                                                                   9 California 92705 (the "Property"), with a value of $653,200.00 after deducting 8% costs of

                                                                                  10 sale, and two liens in the amounts of $518,700.00 and $52,506.40. Debtors claimed a

                                                                                  11 homestead exemption in the amount of $81,993.60 (the "Exemption"). The Property
Weiland Golden Goodrich LLP




                                                                                  12 consists of two dwellings: Debtors’ residence; and a detached property occupied by The
                         Te l ( 7 14) 96 6- 10 0 0 F ax ( 7 14) - 9 66 - 1 0 02
                              65 0 T o w n Ce nt er Dr iv e, Su i te 6 0 0




                                                                                  13 Century Guest Home Inc., a care home which is owned and operated by Debtors
                                 Cos ta Mes a, C a l if or n i a 9 26 2 6




                                                                                  14 (“Business”).

                                                                                  15           The Trustee retained the Firm as his counsel to (i) analyze the assets and liabilities

                                                                                  16 of the Estate and advise the Trustee regarding these matters, including the disposition of

                                                                                  17 assets, and take appropriate action, (ii) assist the Trustee in obtaining a valuation of the

                                                                                  18 Property and in evaluating any leases related to the Business that may affect the value of

                                                                                  19 the Property, (iii) assist with the retention of a real estate broker to sell the Property,

                                                                                  20 (iv) assist the Trustee in selling the Property, if appropriate, for the benefit of the Estate,

                                                                                  21 including preparing the necessary pleadings for the Court to approve the terms of any

                                                                                  22 such sale, participating in any hearings before this Court regarding the sale, including any

                                                                                  23 auction that may occur, and, should the Court approve the sale, taking actions necessary

                                                                                  24 to close the sale, (v) analyze any problematic claims and, if warranted, prepare objections,

                                                                                  25 (vi) provide general advice regarding the Bankruptcy Code and local bankruptcy rules,

                                                                                  26 and (vii) perform any other general tasks as may be required. By order entered July 22,

                                                                                  27 2019, as Docket No. 74, the Court authorized the Trustee to employ the Firm as his

                                                                                  28 counsel, effective May 9, 2019.
                                                                                       1327000.1                                      3                              FEE APPLICATION
                                                                                  Case 8:18-bk-13010-SC        Doc 186 Filed 06/02/21 Entered 06/02/21 15:45:05            Desc
                                                                                                                Main Document    Page 4 of 24


                                                                                   1           The Trustee employed Coldwell Banker Residential Brokerage (the "Broker") to

                                                                                   2 assist him in selling the Property. On August 15, 2019, the Trustee filed the Application of

                                                                                   3 the Chapter 7 Trustee to Employ Real Estate Broker Coldwell Banker Residential

                                                                                   4 Brokerage and Agents William Friedman and Greg Bingham Pursuant to 11 U.S.C.

                                                                                   5 §§ 327 and 328 (the "Broker Application"). The Broker Application was approved by order

                                                                                   6 entered September 17, 2019.

                                                                                   7           In addition, the Trustee employed Nussbaum APC (“Nussbaum”) as his special

                                                                                   8 counsel. On January 17, 2020, the Trustee filed the Application of the Chapter 7 Trustee

                                                                                   9 for Order Approving: (1) Employment of Special Unlawful Detainer Counsel (Nussbaum

                                                                                  10 APC) Pursuant to 11 U.S.C. §§ 327 and 328; and (2) Payment of Compensation which

                                                                                  11 was approved by order entered April 15, 2020.
Weiland Golden Goodrich LLP




                                                                                  12
                         Te l ( 7 14) 96 6- 10 0 0 F ax ( 7 14) - 9 66 - 1 0 02
                              65 0 T o w n Ce nt er Dr iv e, Su i te 6 0 0




                                                                                  13 III.      SUMMARY OF PRIOR FEE APPLICATION
                                 Cos ta Mes a, C a l if or n i a 9 26 2 6




                                                                                  14           On December 16, 2020, a hearing was held on the Firm’s first interim fee

                                                                                  15 application (the “First Application”). By order entered the same day, the Court allowed the

                                                                                  16 Firm $60,405.00 in interim fees and $352.50 in interim expenses for the period from

                                                                                  17 May 9, 2019 through November 25, 2020. The allowed amounts have been paid.

                                                                                  18

                                                                                  19 III.      CURRENT FEES AND EXPENSES REQUESTED

                                                                                  20           In this Application, the Firm is requesting allowance of $3,225.00 in final fees for

                                                                                  21 eight hours of work performed from November 26, 2020 through May 18, 2021,

                                                                                  22 reimbursement of $165.78 in final expenses, and payment of the allowed amounts.

                                                                                  23

                                                                                  24 IV.       CURRENT CASE STATUS

                                                                                  25           The Firm is informed that there is approximately $270,606.54 of funds in the

                                                                                  26 Estate. The other known accrued Chapter 7 administrative expenses are the Trustee’s

                                                                                  27 statutory fees and costs and the professional fees and expenses of the Trustee’s

                                                                                  28
                                                                                       1327000.1                                      4                              FEE APPLICATION
                                                                                  Case 8:18-bk-13010-SC          Doc 186 Filed 06/02/21 Entered 06/02/21 15:45:05          Desc
                                                                                                                  Main Document    Page 5 of 24


                                                                                   1 accountant. The Trustee anticipates that allowed general unsecured claims and

                                                                                   2 administrative claims will be paid in full.

                                                                                   3

                                                                                   4 V.        SUMMARY OF THE FIRM’S ACTIVITIES IN THE CASE AS COUNSEL TO THE

                                                                                   5           CHAPTER 7 TRUSTEE

                                                                                   6           The chart below summarizes all time and corresponding fees incurred by the Firm

                                                                                   7 during this interim period. Each category is described in further detail below.

                                                                                   8                      Category                      Hours             Fees        Blended Rate
                                                                                          Asset Analysis and Recovery
                                                                                   9             First Period                           102.90       $53,415.00       $519.10
                                                                                                 Final Period                            2.10        $1,190.00        $566.67
                                                                                  10
                                                                                          Claims Analysis and Objections
                                                                                  11             First Period                               3.90     $2,340.00        $600.00

                                                                                          Fee Application
Weiland Golden Goodrich LLP




                                                                                  12            First Period                            13.70        $4,650.00        $339.42
                         Te l ( 7 14) 96 6- 10 0 0 F ax ( 7 14) - 9 66 - 1 0 02




                                                                                                Final Period                             5.90        $2,035.00        $344.92
                              65 0 T o w n Ce nt er Dr iv e, Su i te 6 0 0




                                                                                  13
                                 Cos ta Mes a, C a l if or n i a 9 26 2 6




                                                                                                                Total First Period:     120.50       $60,405.00       $501.29
                                                                                  14                            Total Final Period:      8.00        $3,225.00        $403.13

                                                                                  15

                                                                                  16           A.    Asset Analysis and Recovery
                                                                                  17                 [First Period: 102.90 hours, $53,415.00, blended rate $519.10]

                                                                                  18                 1.        Initial Asset Analysis
                                                                                  19           During the first period, the Firm analyzed the Property which consists of two
                                                                                  20 dwellings: Debtors’ residence; and The Century Guest Home Inc. (the "Business"), a care

                                                                                  21 home which is owned and operated by Debtors. The Firm analyzed the $653,200.00

                                                                                  22 scheduled value of the Property (after deducting 8% costs of sale), and two liens in the

                                                                                  23 amounts of $518,700.00 and $52,506.40. The Firm also analyzed Debtors’ claimed

                                                                                  24 homestead exemption in the amount of $81,993.60 (the "Exemption").

                                                                                  25                 2.        Evaluation of Potential Sale of the Property
                                                                                  26           The Firm obtained and reviewed documents from Debtors, some of which were
                                                                                  27 only obtained after multiple requests and demands for Debtors’ cooperation, conferred

                                                                                  28 with the Trustee and the Broker concerning the Broker’s valuation of the Property, and
                                                                                       1327000.1                                        5                             FEE APPLICATION
                                                                                  Case 8:18-bk-13010-SC       Doc 186 Filed 06/02/21 Entered 06/02/21 15:45:05           Desc
                                                                                                               Main Document    Page 6 of 24


                                                                                   1 advised the Trustee on the prospects for selling the Property. The Firm reviewed

                                                                                   2 admission agreements for residential care facility for the elderly (RCFE) (the "Care

                                                                                   3 Agreements") for the tenants of the Business (collectively, the “Residents”) which provided

                                                                                   4 for eviction upon 30 day’s written notice to the Residents, including for “change of use of

                                                                                   5 the facility.” In addition, the Firm researched legal issues relating to the operation of the

                                                                                   6 Business, including licensing, rents and insurance issues.

                                                                                   7           Gaining access to the Property for showings was problematic, and the Trustee

                                                                                   8 could not obtain Debtor’s cooperation, even for mere access to the Property for an

                                                                                   9 inspection for valuation purposes. The Firm conferred with the Broker and Debtors’

                                                                                  10 counsel regarding Debtors’ failure to cooperate with the Broker. The Firm also addressed

                                                                                  11 issues concerning the Residents.
Weiland Golden Goodrich LLP




                                                                                  12           Following marketing, the Trustee received two purchase offers for the Property,
                         Te l ( 7 14) 96 6- 10 0 0 F ax ( 7 14) - 9 66 - 1 0 02
                              65 0 T o w n Ce nt er Dr iv e, Su i te 6 0 0




                                                                                  13 both of which required the Property to be vacant at close of escrow. The Firm conferred
                                 Cos ta Mes a, C a l if or n i a 9 26 2 6




                                                                                  14 with the Broker about the issue of the Residents and advised the Trustee regarding the

                                                                                  15 issue of the Residents and the need to employ special counsel to prepare, file and

                                                                                  16 prosecute unlawful detainer complaints against the Residents so that the Trustee could

                                                                                  17 accomplish a sale of the Property. In order for the unlawful detainer work to proceed, the

                                                                                  18 Broker temporarily removed the Property from the MLS.

                                                                                  19                 3.     Unlawful Detainer Complaint

                                                                                  20           The Firm conferred with Nussbaum regarding the need to file an unlawful detainer

                                                                                  21 complaint, explained and advised the legal aspects of the bankruptcy process and the

                                                                                  22 proposed sale of the Property, monitored the unlawful detainer complaint filed by

                                                                                  23 Nussbaum, and communicated with the Broker and Debtors’ counsel regarding the

                                                                                  24 unlawful detainer action. Ultimately, the complaint was dismissed once Trustee

                                                                                  25 negotiated a settlement with Debtors regarding the purchase of the equity in the Property.

                                                                                  26                 4.     Preservation of the Property

                                                                                  27           Subsequently, Debtors expressed an interest in purchasing the Estate’s equity in

                                                                                  28 the Property. In order to preserve the Property for the Estate and ensure that expenses
                                                                                       1327000.1                                    6                              FEE APPLICATION
                                                                                  Case 8:18-bk-13010-SC       Doc 186 Filed 06/02/21 Entered 06/02/21 15:45:05          Desc
                                                                                                               Main Document    Page 7 of 24


                                                                                   1 related to the Property, including all mortgage payments, real property taxes, insurance,

                                                                                   2 utilities, homeowner association dues, landscaping costs, maintenance, etc., were paid,

                                                                                   3 the Firm, on behalf of the Trustee, negotiated an agreement with Debtors which set a

                                                                                   4 deadline for Debtors to reach an agreement with the Trustee regarding the buy-back of

                                                                                   5 equity in the Property, after which, if no agreement was reached, all occupants of the

                                                                                   6 Property, including Debtors and Residents, would vacate the Property and the Property

                                                                                   7 would be sold. The Firm negotiated terms to protect the Estate and the creditors of the

                                                                                   8 Estate, including remedies for the Trustee in the event that Debtors defaulted on the

                                                                                   9 agreement.

                                                                                  10           The Firm prepared and negotiated the terms of the Stipulation Between Chapter 7

                                                                                  11 Trustee and Debtor Regarding Preservation of Real Property for the Benefit of the Estate
Weiland Golden Goodrich LLP




                                                                                  12 and Payment of Property-Related Expenses (the "Stipulation") which was filed on April 17,
                         Te l ( 7 14) 96 6- 10 0 0 F ax ( 7 14) - 9 66 - 1 0 02
                              65 0 T o w n Ce nt er Dr iv e, Su i te 6 0 0




                                                                                  13 2020.
                                 Cos ta Mes a, C a l if or n i a 9 26 2 6




                                                                                  14                 5.     Sale of Equity in the Property

                                                                                  15           The Firm met with the Debtors and counsel for the Debtors regarding resolution of

                                                                                  16 the Estate’s equity in the Property. Once Debtors expressed interest in purchasing the

                                                                                  17 Estate’s equity in the Property, the Firm, on behalf of the Trustee, participated in

                                                                                  18 settlement negotiations with Debtors, through their counsel, for several months, including

                                                                                  19 numerous discussions related to Debtors’ ability to obtain financing and procedure for

                                                                                  20 approval of the agreement and remedies in the event that Debtors defaulted on the

                                                                                  21 agreement.

                                                                                  22           In connection with the negotiations, and as described below in the Claims Analysis

                                                                                  23 category, the Firm reviewed the filed proofs of claim and determined that the total amount

                                                                                  24 of allowed general unsecured claims filed is $251,373.63.

                                                                                  25           The Firm ultimate negotiated an equity buyback agreement (the "Agreement")

                                                                                  26 between the Trustee and Debtors which provides for Debtors’ purchase of the equity in

                                                                                  27 the Property for a purchase price of $335,000.00 to be paid to the Estate through escrow.

                                                                                  28 The Firm prepared the Motion for Order Approving Equity Buyback Agreement Between
                                                                                       1327000.1                                    7                             FEE APPLICATION
                                                                                  Case 8:18-bk-13010-SC         Doc 186 Filed 06/02/21 Entered 06/02/21 15:45:05           Desc
                                                                                                                 Main Document    Page 8 of 24


                                                                                   1 the Trustee and Debtors and Authorizing Disposition of Property of the Estate Pursuant to

                                                                                   2 11 U.S.C. § 363(b) (the "Motion"). Debtors’ lender required approval of the Agreement on

                                                                                   3 shortened time because the lenders required the closing of the loan to occur in short

                                                                                   4 order. Therefore, the Firm prepared and filed a related application for order shortening

                                                                                   5 notice (the “OST Application”) which were filed on August 5, 2020. The OST Application

                                                                                   6 was approved by order entered by the Court on August 6, 2020, and the matter was set

                                                                                   7 for hearing on August 19, 2020. The Firm prepared and filed the notice of the shortened

                                                                                   8 time hearing.

                                                                                   9           The Firm prepared for the hearing on the Motion, reviewed the Court’s tentative

                                                                                  10 ruling, and prepared the order granting the Motion which was entered on August 19, 2020.

                                                                                  11 Thereafter, the Firm monitored status of the Debtors’ funding of their loan, including
Weiland Golden Goodrich LLP




                                                                                  12 responding to inquiries from the lender’s counsel, in order to ensure that escrow closed
                         Te l ( 7 14) 96 6- 10 0 0 F ax ( 7 14) - 9 66 - 1 0 02
                              65 0 T o w n Ce nt er Dr iv e, Su i te 6 0 0




                                                                                  13 without delay.
                                 Cos ta Mes a, C a l if or n i a 9 26 2 6




                                                                                  14           Thus, the Firm’s efforts in this category resulted in a benefit of $335,000.00 for the

                                                                                  15 Estate which will allow the Trustee to pay, in full, all allowed general unsecured claims

                                                                                  16 and administrative claims, and will enable the Trustee to move forward with closing this

                                                                                  17 Estate.

                                                                                  18                  [Final Period: 2.10 hours, $1,190.00, blended rate $566.67]

                                                                                  19           During this final period the Firm spent a small amount of time in this category

                                                                                  20 advising the Trustee on case closing issues.

                                                                                  21           B.     Claims Analysis and Objections

                                                                                  22                  [First Period: 3.90 hours, $2,340.00, blended rate $600.00]

                                                                                  23           The claims bar date in this case expired on November 18, 2019. The Firm

                                                                                  24 analyzed the filed proofs of claim for possible objections and determined that the total

                                                                                  25 amount of allowed general unsecured claims filed is $251,373.63.

                                                                                  26 ///

                                                                                  27 ///

                                                                                  28
                                                                                       1327000.1                                         8                           FEE APPLICATION
                                                                                  Case 8:18-bk-13010-SC              Doc 186 Filed 06/02/21 Entered 06/02/21 15:45:05                    Desc
                                                                                                                      Main Document    Page 9 of 24


                                                                                   1
                                                                                                                                                Amount/            Amount
                                                                                   2    Claim             Claimant            Date Filed     Classification        Allowed             Comment
                                                                                                   Capital One Bank                            $3,172.75
                                                                                   3      1        (USA), N.A.                9/24/2018    General Unsecured         $3,172.75            To be paid
                                                                                                   Capital One Bank                            $3,261.22
                                                                                   4      2        (USA), N.A.                9/24/2018    General Unsecured         $3,261.22            To be paid

                                                                                   5               Dell Financial Services,                    $2,338.02
                                                                                          3        LLC                        9/26/2018    General Unsecured         $2,338.02            To be paid
                                                                                   6               Capital One Bank                            $8,388.13
                                                                                          4        (USA), N.A.                9/26/2018    General Unsecured         $8,388.13            To be paid
                                                                                   7                                                            $850.37
                                                                                          5        Nordstrom, Inc.            10/8/2018    General Unsecured           $850.47            To be paid
                                                                                   8                                                           $1,511.41
                                                                                          6        Bank of America, N.A.      10/9/2018    General Unsecured         $1,511.41            To be paid
                                                                                   9               Toyota Motor Credit                         $15,679.64
                                                                                          7        Corporation                10/12/2018   Secured by vehicle1                $0                 N/A
                                                                                  10                                                          $517,988.35
                                                                                                                                             Secured by the
                                                                                  11                                                            Property
Weiland Golden Goodrich LLP




                                                                                  12                                                           $3,313.21
                         Te l ( 7 14) 96 6- 10 0 0 F ax ( 7 14) - 9 66 - 1 0 02




                                                                                                                                            Arrears as of the
                              65 0 T o w n Ce nt er Dr iv e, Su i te 6 0 0




                                                                                  13
                                 Cos ta Mes a, C a l if or n i a 9 26 2 6




                                                                                          8        CIT Bank, N.A.             10/23/2018     Petition Date           $3,313.21            To be paid
                                                                                  14               Department Stores
                                                                                          9        National Bank              10/24/2018   General Unsecured           $626.46            To be paid
                                                                                  15                                                                                                 $210,000.00 to
                                                                                                                                             $2,000,000.00                          be paid pursuant
                                                                                  16      10       Merna Lorraine Gibson      10/24/2018   General Unsecured      $210,000.00          to settlement2
                                                                                                   Wells Fargo Bank N.A.                       $17,423.48
                                                                                  17      11       dba Wells Fargo Auto       10/25/2018   Secured by vehicle3                $0                 N/A
                                                                                                                                             $5,000,000.00                            Disallowed per
                                                                                  18      12       Rommel V. San Pedro         1/9/2019    General Unsecured                  $0           Dkt. #141
                                                                                                                                              $119,164.00
                                                                                  19                                                       General Unsecured
                                                                                                                                               $13,650.00                             Disallowed per
                                                                                  20      13       Maria Susana Soriano       8/14/2019          Priority                     $0          Dkt. #141
                                                                                                                                               $13,555.24                             Disallowed per
                                                                                  21      14       Priscilla Joson            8/14/2019          Priority                     $0           Dkt. #141
                                                                                                   JPMorgan Chase
                                                                                  22      15       Bank, N.A.                 9/18/2019    General Unsecured         $1,688.68            To be paid

                                                                                  23

                                                                                  24       1
                                                                                            On July 13, 2020, Debtors’ counsel indicated that Debtors are making the payments on this vehicle
                                                                                       and intend to keep this vehicle.
                                                                                  25
                                                                                           2
                                                                                               Claim No. 10 was settled for the amount of $210,000.00, as discussed herein.
                                                                                  26
                                                                                           3
                                                                                               On July 13, 2020, Debtor’s counsel indicated that Debtors are making the payments on this vehicle
                                                                                  27 and intend to keep this vehicle.

                                                                                  28
                                                                                       1327000.1                                              9                                    FEE APPLICATION
                                                                                  Case 8:18-bk-13010-SC          Doc 186 Filed 06/02/21 Entered 06/02/21 15:45:05                    Desc
                                                                                                                 Main Document     Page 10 of 24


                                                                                   1               JPMorgan Chase
                                                                                          16       Bank, N.A.              9/19/2019    General Unsecured        $9,222.83           To be paid
                                                                                   2               JPMorgan Chase
                                                                                          17       Bank, N.A.              9/19/2019    General Unsecured        $6,419.41           To be paid
                                                                                   3               JPMorgan Chase
                                                                                          18       Bank, N.A.              9/19/2019    General Unsecured             $581.04        To be paid
                                                                                   4
                                                                                                                                         Total Amount to
                                                                                   5                                                         be Paid:          $251,373.63

                                                                                   6           In particular, the Firm analyzed Claim No. 10 ("Claim 10") filed on October 24,

                                                                                   7 2018, by Merna Lorraine Gibson ("Gibson") as a general unsecured claim in the amount of

                                                                                   8 $2,000,000.00. On March 8, 2020, Debtors filed their motion to disallow Claim 10.

                                                                                   9 Gibson filed an opposition on March 23, 2020. On June 25, 2020, Debtors and Gibson

                                                                                  10 filed a joint status report and notice of settlement, pursuant to which Claim 10 will be

                                                                                  11 reduced from $2,000,000.00 to $210,000.00. On July 31, 2020, the Stipulation to Resolve
Weiland Golden Goodrich LLP




                                                                                  12 Debtors’ Objection to Claim Number 10 was filed, which provides that Claim 10 will be
                         Te l ( 7 14) 96 6- 10 0 0 F ax ( 7 14) - 9 66 - 1 0 02
                              65 0 T o w n Ce nt er Dr iv e, Su i te 6 0 0




                                                                                  13 reduced and amended to a total of $210,000.00 in exchange for Debtors’ withdrawal of
                                 Cos ta Mes a, C a l if or n i a 9 26 2 6




                                                                                  14 their objection. On August 13, 2020, an order was entered approving the stipulation, and

                                                                                  15 on Gibson subsequently filed an amendment to reduce Claim 10 to a total of $210,000.00.

                                                                                  16           C.       Fee Applications

                                                                                  17                    [First Period: 13.70 hours, $4,650.00, blended rate $339.42]

                                                                                  18           During the first period, the Firm prepared the notice to retained professionals,

                                                                                  19 reviewed and revised the Firm’s billing statements in accordance with United States

                                                                                  20 Trustee guidelines, prepared the First Application and the Trustee’s declaration regarding

                                                                                  21 the First Application.

                                                                                  22                    [Final Period: 5.90 hours, $2,035.00, blended rate $344.92]

                                                                                  23           During this final period, the Firm prepared the order on the First Application which

                                                                                  24 was entered on December 16, 2020, and prepared this Application and the Trustee’s

                                                                                  25 declaration regarding this Application.

                                                                                  26

                                                                                  27

                                                                                  28
                                                                                       1327000.1                                          10                                    FEE APPLICATION
                                                                                  Case 8:18-bk-13010-SC           Doc 186 Filed 06/02/21 Entered 06/02/21 15:45:05           Desc
                                                                                                                  Main Document     Page 11 of 24


                                                                                   1 VI.       ANALYSIS OF CHAPTER 7 FEES AND COSTS

                                                                                   2           From November 26, 2020 through May 18, 2021, the Firm expended eight hours

                                                                                   3 representing the Trustee in this proceeding, as more particularly described in Exhibit “1”

                                                                                   4 attached to the Bello Declaration. Exhibit “1” is a computerized invoice prepared by the

                                                                                   5 Firm based on time records maintained by each professional performing services on

                                                                                   6 behalf of the Trustee. These records are maintained in the ordinary course of the Firm’s

                                                                                   7 business.

                                                                                   8           Below are the Firm’s hourly rates for the individuals rendering services on behalf of

                                                                                   9 the Trustee, the amount of time each individual spent in representation of the Trustee, and

                                                                                  10 a total fee.

                                                                                  11                   Attorney                 Hours      Hourly Rate      Period          Total
Weiland Golden Goodrich LLP




                                                                                  12       Reem J. Bello, Attorney                3.50          $600      2020-2021       $2,100.00
                         Te l ( 7 14) 96 6- 10 0 0 F ax ( 7 14) - 9 66 - 1 0 02
                              65 0 T o w n Ce nt er Dr iv e, Su i te 6 0 0




                                                                                  13       Cynthia B. Meeker, Paralegal           4.50          $250      2020-2021       $1,125.00
                                 Cos ta Mes a, C a l if or n i a 9 26 2 6




                                                                                  14                          TOTAL HOURS:        8.00                   TOTAL FEES:      $3,225.00

                                                                                  15
                                                                                               The eight hours resulted in total fees of $3,225.00, creating a blended hourly rate of
                                                                                  16
                                                                                       $403.13. The rates charged by the Firm are standard for the Firm on legal matters,
                                                                                  17
                                                                                       without considering the size and degree of responsibility, difficulty, complexity or results
                                                                                  18
                                                                                       achieved. The rates at which the Firm charges its non-bankruptcy clients for similar
                                                                                  19
                                                                                       services are the same.
                                                                                  20
                                                                                               In addition to the Firm’s fees, from November 26, 2020 through May 18, 2021, the
                                                                                  21
                                                                                       Firm advanced out-of-pocket expenses totaling $165.78 as detailed in Exhibit “1” attached
                                                                                  22
                                                                                       to the Bello Declaration. The Firm’s costs are itemized as follows:
                                                                                  23
                                                                                                      Westlaw research                                        $165.78
                                                                                  24
                                                                                                                                              Total:          $165.78
                                                                                  25

                                                                                  26

                                                                                  27

                                                                                  28
                                                                                       1327000.1                                     11                                 FEE APPLICATION
                                                                                  Case 8:18-bk-13010-SC        Doc 186 Filed 06/02/21 Entered 06/02/21 15:45:05              Desc
                                                                                                               Main Document     Page 12 of 24


                                                                                   1 VII.      POINTS AND AUTHORITIES ADDRESSING STANDARD FOR REVIEWING FEE

                                                                                   2 APPLICATION AND REIMBURSEMENT OF EXPENSES

                                                                                   3           After notice and a hearing, the court may award an attorney or other professional

                                                                                   4 employed by the estate pursuant to §§ 327 or 1103 “reasonable compensation for actual,

                                                                                   5 necessary services rendered” and “reimbursement for actual, necessary expenses.” See

                                                                                   6 11 U.S.C. §§ 330(a)(1)(A) & (B). In determining the reasonableness of the compensation

                                                                                   7 requested, the court shall consider the following:

                                                                                   8                  [T]he nature, the extent, and the value of [the services
                                                                                                      provided], taking into account all relevant factors, including–
                                                                                   9
                                                                                                      (A) the time spent on such services;
                                                                                  10
                                                                                                      (B) the rates charged for such services;
                                                                                  11
                                                                                                      (C) whether the services were necessary to the administration
Weiland Golden Goodrich LLP




                                                                                  12                  of, or beneficial at the time at which the service was rendered
                                                                                                      toward the completion of, a case under this title;
                         Te l ( 7 14) 96 6- 10 0 0 F ax ( 7 14) - 9 66 - 1 0 02
                              65 0 T o w n Ce nt er Dr iv e, Su i te 6 0 0




                                                                                  13
                                 Cos ta Mes a, C a l if or n i a 9 26 2 6




                                                                                                      (D) whether the services were performed within a reasonable
                                                                                  14                  amount of time commensurate with the complexity,
                                                                                                      importance, and nature of the problem, issue, or task
                                                                                  15                  addressed; and

                                                                                  16                  (E) whether the compensation is reasonable based on the
                                                                                                      customary compensation charged by comparably skilled
                                                                                  17                  practitioners in cases other than cases under this title.

                                                                                  18 Id. § 330(a)(3)(A)-(E).

                                                                                  19           “A compensation award based on a reasonable hourly rate multiplied by the

                                                                                  20 number of hours actually and reasonably expended is presumptively a reasonable fee.”

                                                                                  21 Burgess v. Klenske (In re Manoa Finance Co., Inc.), 853 F.2d 687, 691 (9th Cir. 1988).

                                                                                  22 Factors ordinarily accounted for in either the hourly rate or the number of hours expended

                                                                                  23 include: (1) the novelty and complexity of issues, (2) the special skill and experience of

                                                                                  24 counsel, (3) the quality of representation, and (4) the results obtained. See id.

                                                                                  25           In this case, the factors set forth in § 330 are met.

                                                                                  26

                                                                                  27

                                                                                  28
                                                                                       1327000.1                                      12                                FEE APPLICATION
                                                                                  Case 8:18-bk-13010-SC        Doc 186 Filed 06/02/21 Entered 06/02/21 15:45:05              Desc
                                                                                                               Main Document     Page 13 of 24


                                                                                   1           A.     Time and Labor Required

                                                                                   2           From November 26, 2020 through May 18, 2021, the Firm expended a total of eight

                                                                                   3 hours in this case. The above description of the history of this proceeding and the Firm’s

                                                                                   4 representation of the Trustee amply justify this expenditure of time.

                                                                                   5           B.     The Services Were Necessary or Beneficial

                                                                                   6           As set forth above, the Firm’s services were necessary and beneficial.

                                                                                   7           C.     Time Spent and Rate Charged Were Reasonable

                                                                                   8                  1.     Novelty and Difficulty of the Questions

                                                                                   9           The issues in this case, as discussed in more detail above, required the expertise

                                                                                  10 and skills of the Firm.

                                                                                  11                  2.     Skills Required to Perform the Services Properly
Weiland Golden Goodrich LLP




                                                                                  12           The preceding remarks illustrate the necessity of the Firm’s exceptional bankruptcy
                         Te l ( 7 14) 96 6- 10 0 0 F ax ( 7 14) - 9 66 - 1 0 02
                              65 0 T o w n Ce nt er Dr iv e, Su i te 6 0 0




                                                                                  13 knowledge and skills in fulfilling its obligations to the Trustee.
                                 Cos ta Mes a, C a l if or n i a 9 26 2 6




                                                                                  14                  3.     The Quality of Representation

                                                                                  15           The narrative statement concerning the Firm’s services reflects that the Firm

                                                                                  16 provided the highest quality of services to the Estate and the Trustee.

                                                                                  17                  4.     The Result Obtained

                                                                                  18           The result obtained is set forth in detail in the narrative statement.

                                                                                  19                  5.     Customary Fees

                                                                                  20           The rates charged by the Firm are normal charges for work performed on legal

                                                                                  21 matters, without considering size and degree of responsibility, difficulty, complexity, or

                                                                                  22 results achieved.

                                                                                  23                  6.     Whether the Fee is Fixed or Contingent

                                                                                  24           As in all bankruptcy proceedings, the Firm’s fees in connection with its

                                                                                  25 representation of the Trustee are subject to the discretion of the Court in determining the

                                                                                  26 value of the services rendered to the Estate, and are subject to the availability of the funds

                                                                                  27 of the Estate and are, accordingly, in effect contingent.

                                                                                  28
                                                                                       1327000.1                                      13                                FEE APPLICATION
                                                                                  Case 8:18-bk-13010-SC       Doc 186 Filed 06/02/21 Entered 06/02/21 15:45:05          Desc
                                                                                                              Main Document     Page 14 of 24


                                                                                   1                 7.     Experience, Reputation and Ability of Counsel

                                                                                   2           The Firm’s attorneys have extensive knowledge in insolvency, reorganization and

                                                                                   3 bankruptcy law. The professionals of the Firm rendering services on behalf of the Trustee

                                                                                   4 have considerable experience and resources available which have greatly assisted them

                                                                                   5 in rendering the services which the Firm has been able to perform in this highly

                                                                                   6 specialized field. Counsel with lesser experience or available resources might have

                                                                                   7 required additional time in order to render such services.

                                                                                   8           REEM J. BELLO received her undergraduate degrees in political science and

                                                                                   9 English literature from the University of California at Irvine where she graduated magna

                                                                                  10 cum laude, Order of Merit (Top 2% of class) and Phi Beta Kappa. Ms. Bello received her

                                                                                  11 law degree from the University of Southern California Law School in 1998 where she was
Weiland Golden Goodrich LLP




                                                                                  12 a member of the Hale Moot Court Honors Program. During law school, Ms. Bello served
                         Te l ( 7 14) 96 6- 10 0 0 F ax ( 7 14) - 9 66 - 1 0 02
                              65 0 T o w n Ce nt er Dr iv e, Su i te 6 0 0




                                                                                  13 a judicial externship to the Honorable Alan M. Ahart, United States Bankruptcy Judge for
                                 Cos ta Mes a, C a l if or n i a 9 26 2 6




                                                                                  14 the Central District of California, and a judicial externship to the Honorable Kathleen P.

                                                                                  15 March, United States Bankruptcy Judge for the Central District of California. Upon

                                                                                  16 graduation, Ms. Bello served a judicial clerkship to the Honorable Kathleen P. March,

                                                                                  17 United States Bankruptcy Judge for the Central District of California.

                                                                                  18           Ms. Bello concentrates her practice on both bankruptcy/insolvency matters and

                                                                                  19 commercial and business litigation. She represents debtors, secured and unsecured

                                                                                  20 creditors, creditors' committees, equity committees and other parties in bankruptcy cases.

                                                                                  21 She has led Chapter 11 reorganization proceedings, from the commencement of a case

                                                                                  22 through to plan confirmation proceedings. Ms. Bello has extensive experience in

                                                                                  23 Chapter 7 liquidation proceedings, representing Chapter 7 trustees in the recovery and

                                                                                  24 liquidation of assets. She has significant bankruptcy-related litigation experience

                                                                                  25 representing trustees and creditors in adversary proceedings. Her bankruptcy-related

                                                                                  26 litigation experience includes discovery, briefing, settlement negotiations, mediation and

                                                                                  27 trial in connection with preference, fraudulent conveyance, lien avoidance proceedings,

                                                                                  28 and other adversary proceedings. She has significant experience handling a wide variety
                                                                                       1327000.1                                   14                            FEE APPLICATION
                                                                                  Case 8:18-bk-13010-SC          Doc 186 Filed 06/02/21 Entered 06/02/21 15:45:05            Desc
                                                                                                                 Main Document     Page 15 of 24


                                                                                   1 of business, commercial and real estate litigation involving discovery, taking and

                                                                                   2 defending depositions, pretrial motions, settlement negotiations and mediation.

                                                                                   3           CYNTHIA B. MEEKER received her undergraduate degree from California State

                                                                                   4 University at Fullerton in 1982, and obtained a certificate of legal assistantship from the

                                                                                   5 University of California at Irvine in 1988.

                                                                                   6           D.        Professional Relationship with the Client

                                                                                   7           The Trustee is a partner in the Firm.

                                                                                   8

                                                                                   9 VIII.     NO FEE SHARING ARRANGEMENT

                                                                                  10               The Trustee is a partner of the Firm, and as such he shares in whatever

                                                                                  11 compensation is received by the Firm. The Firm also shares in whatever compensation is
Weiland Golden Goodrich LLP




                                                                                  12 received by the Trustee. The Firm has no other fee sharing arrangement, understanding,
                         Te l ( 7 14) 96 6- 10 0 0 F ax ( 7 14) - 9 66 - 1 0 02
                              65 0 T o w n Ce nt er Dr iv e, Su i te 6 0 0




                                                                                  13 or compensation sharing arrangement with any other entity, and no part of the fees or
                                 Cos ta Mes a, C a l if or n i a 9 26 2 6




                                                                                  14 expenses awarded to the Firm will be paid to any other entity.

                                                                                  15

                                                                                  16 IX.       CONCLUSION

                                                                                  17           The Firm’s efforts have conferred substantial benefit to the Estate and the Firm

                                                                                  18 believes that the requested fees and costs are more than reasonable.

                                                                                  19           WHEREFORE, the Firm respectfully requests that this Court enter its order:

                                                                                  20           1.        Allowing $3,225.00 in final fees and $165.78 in final expenses for the period

                                                                                  21 from November 26, 2020 through May 18, 2021, and authorizing payment of the allowed

                                                                                  22 amounts;

                                                                                  23           2.        Affirming the Court’s interim award of $60,405.00 in fees and $352.50 in

                                                                                  24 expenses as a final award; and

                                                                                  25

                                                                                  26

                                                                                  27

                                                                                  28
                                                                                       1327000.1                                       15                             FEE APPLICATION
                                                                                  Case 8:18-bk-13010-SC     Doc 186 Filed 06/02/21 Entered 06/02/21 15:45:05        Desc
                                                                                                            Main Document     Page 16 of 24


                                                                                   1           3.   For such further relief as the Court may deem necessary and appropriate.

                                                                                   2

                                                                                   3                                          Respectfully submitted,

                                                                                   4 Dated: June 2, 2021                      WEILAND GOLDEN GOODRICH LLP

                                                                                   5
                                                                                                                              By: /s/ Reem J. Bello
                                                                                   6                                              REEM J. BELLO
                                                                                                                                  Counsel for Jeffrey I. Golden,
                                                                                   7                                              Chapter 7 Trustee

                                                                                   8

                                                                                   9

                                                                                  10

                                                                                  11
Weiland Golden Goodrich LLP




                                                                                  12
                         Te l ( 7 14) 96 6- 10 0 0 F ax ( 7 14) - 9 66 - 1 0 02
                              65 0 T o w n Ce nt er Dr iv e, Su i te 6 0 0




                                                                                  13
                                 Cos ta Mes a, C a l if or n i a 9 26 2 6




                                                                                  14

                                                                                  15

                                                                                  16

                                                                                  17

                                                                                  18

                                                                                  19

                                                                                  20

                                                                                  21

                                                                                  22

                                                                                  23

                                                                                  24

                                                                                  25

                                                                                  26

                                                                                  27

                                                                                  28
                                                                                       1327000.1                                 16                           FEE APPLICATION
                                                                                  Case 8:18-bk-13010-SC        Doc 186 Filed 06/02/21 Entered 06/02/21 15:45:05           Desc
                                                                                                               Main Document     Page 17 of 24


                                                                                   1                              DECLARATION OF REEM J. BELLO

                                                                                   2

                                                                                   3           I, Reem J. Bello, declare as follows:

                                                                                   4           1.     I am a partner in the law firm Weiland Golden Goodrich LLP (the “Firm”),

                                                                                   5 attorneys of record for Jeffrey I. Golden, the Chapter 7 trustee (the “Trustee”). The

                                                                                   6 following is within my personal knowledge, and if called upon as a witness, I could and

                                                                                   7 would testify competently with respect thereto. I am submitting this declaration in support

                                                                                   8 of the Firm’s Second and Final Application for Allowance and Payment of Fees and

                                                                                   9 Reimbursement of Expenses of Counsel for the Chapter 7 Trustee (the “Application”).

                                                                                  10           2.     In the ordinary course of its business, the Firm keeps a record of all time

                                                                                  11 expended by its professionals and para-professionals in the rendering of professional
Weiland Golden Goodrich LLP




                                                                                  12 services on a computerized billing system as follows: At or near the time the professional
                         Te l ( 7 14) 96 6- 10 0 0 F ax ( 7 14) - 9 66 - 1 0 02
                              65 0 T o w n Ce nt er Dr iv e, Su i te 6 0 0




                                                                                  13 services are rendered, attorneys and other professionals of the Firm either: (1) record in
                                 Cos ta Mes a, C a l if or n i a 9 26 2 6




                                                                                  14 writing on a time sheet the client/matter name or number, the duration of time expended,

                                                                                  15 and a description of the nature of the services performed, or (2) input the time record,

                                                                                  16 including the client/matter number, duration of time expended, a description of the nature

                                                                                  17 of the services performed, and the initials of the professional rendering the service,

                                                                                  18 directly into the Firm’s computer billing system. For the professionals who record their

                                                                                  19 time using written time sheets, the information contained in the time sheets is then

                                                                                  20 transcribed into the Firm’s computer billing system. The Firm’s computer billing system

                                                                                  21 keeps a record of all time spent on a client/matter, the professional providing the services

                                                                                  22 and a description of the services rendered. The Firm’s computer billing system

                                                                                  23 automatically multiplies the time expended by each professional by the respective

                                                                                  24 professional’s billing rate to calculate the amount of the fee associated. The Firm

                                                                                  25 conducts its business in reliance on the accuracy of such business records.

                                                                                  26           3.     I have reviewed the Firm’s bills for services rendered in connection with its

                                                                                  27 representation of the Trustee in this case, a copy of which is attached as Exhibit “1.”

                                                                                  28
                                                                                       1327000.1                                       17                           FEE APPLICATION
                                                                                  Case 8:18-bk-13010-SC       Doc 186 Filed 06/02/21 Entered 06/02/21 15:45:05           Desc
                                                                                                              Main Document     Page 18 of 24


                                                                                   1           4.    It is the Firm’s usual practice to allocate work and assignments in an efficient

                                                                                   2 manner to achieve an effective result. As demonstrated in the Application, the practice

                                                                                   3 has been followed in this case.

                                                                                   4           5.    At any time a reimbursable charge is incurred on behalf of a client, such as

                                                                                   5 photocopy expenses, telecopy charges, and the like, employees of the Firm keep a written

                                                                                   6 record of the file number for which the charges were expended and a brief description of

                                                                                   7 the nature of the expense. These records are also transcribed into the computer which,

                                                                                   8 together with the records of time spent providing professional services, are transcribed

                                                                                   9 onto monthly bills.

                                                                                  10           6.    With respect to costs for the reproduction of documents, the photocopy

                                                                                  11 operator must manually enter in the system the coded “file” number and “matter” number
Weiland Golden Goodrich LLP




                                                                                  12 assigned to that particular case and the number of photocopies made. Photocopies and
                         Te l ( 7 14) 96 6- 10 0 0 F ax ( 7 14) - 9 66 - 1 0 02
                              65 0 T o w n Ce nt er Dr iv e, Su i te 6 0 0




                                                                                  13 scanned documents are charged at $.20 per page. Attached as Exhibit “1” is a true and
                                 Cos ta Mes a, C a l if or n i a 9 26 2 6




                                                                                  14 correct copy of the expense portion of the Firm’s billing statement.

                                                                                  15           7.    The Firm has no fee sharing arrangement, understanding, or compensation

                                                                                  16 sharing arrangement with any other entity, and no part of the attorneys’ fees or expenses

                                                                                  17 awarded to the Firm will be paid to any other entity.

                                                                                  18           8.    I have reviewed the requirements of Local Bankruptcy Rule 2016 (“Rule

                                                                                  19 2016”). The Application complies with Rule 2016.

                                                                                  20           ///

                                                                                  21           ///

                                                                                  22           ///

                                                                                  23

                                                                                  24

                                                                                  25

                                                                                  26

                                                                                  27

                                                                                  28
                                                                                       1327000.1                                    18                             FEE APPLICATION
                                                                                  Case 8:18-bk-13010-SC        Doc 186 Filed 06/02/21 Entered 06/02/21 15:45:05             Desc
                                                                                                               Main Document     Page 19 of 24


                                                                                   1           9.     I participated in preparing, am familiar with, and have read the Application.

                                                                                   2 To the best of my knowledge, information and belief, the facts in the Application are true

                                                                                   3 and correct.

                                                                                   4           I declare under penalty of perjury that the foregoing is true and correct.

                                                                                   5           Executed on this 2nd day of June, 2021, at Costa Mesa, California.

                                                                                   6
                                                                                                                                          /s/ Reem J. Bello
                                                                                   7                                                                   Reem J. Bello
                                                                                   8

                                                                                   9

                                                                                  10

                                                                                  11
Weiland Golden Goodrich LLP




                                                                                  12
                         Te l ( 7 14) 96 6- 10 0 0 F ax ( 7 14) - 9 66 - 1 0 02
                              65 0 T o w n Ce nt er Dr iv e, Su i te 6 0 0




                                                                                  13
                                 Cos ta Mes a, C a l if or n i a 9 26 2 6




                                                                                  14

                                                                                  15

                                                                                  16

                                                                                  17

                                                                                  18

                                                                                  19

                                                                                  20

                                                                                  21

                                                                                  22

                                                                                  23

                                                                                  24

                                                                                  25

                                                                                  26

                                                                                  27

                                                                                  28
                                                                                       1327000.1                                     19                              FEE APPLICATION
                                                                                  Case 8:18-bk-13010-SC           Doc 186 Filed 06/02/21 Entered 06/02/21 15:45:05         Desc
                                                                                                                  Main Document     Page 20 of 24


                                                                                   1               SUMMARY OF SECOND AND FINAL APPLICATION FOR ALLOWANCE

                                                                                   2                          AND PAYMENT OF FEES AND REIMBURSEMENT

                                                                                   3                  OF EXPENSES OF COUNSEL FOR THE CHAPTER 7 TRUSTEE

                                                                                   4

                                                                                   5 Current Fees Sought:                                               $3,225.00

                                                                                   6 Current Expenses Sought:                                           $165.78

                                                                                   7 Compensation Previously Awarded and Paid:                          $60,757.50

                                                                                   8 Compensation by Professional and Date of Bar Admission:

                                                                                   9      Attorney or Paralegal      Hours    Hourly Rate    Period       Total         Date of Bar
                                                                                                                                                                        Admission
                                                                                  10
                                                                                         Reem J. Bello,                3.50        $600     2020-2021   $2,100.00        12/1998
                                                                                  11     Attorney
Weiland Golden Goodrich LLP




                                                                                  12     Cynthia B. Meeker,            4.50        $250     2020-2021   $1,125.00          N/A
                                                                                         Paralegal
                         Te l ( 7 14) 96 6- 10 0 0 F ax ( 7 14) - 9 66 - 1 0 02
                              65 0 T o w n Ce nt er Dr iv e, Su i te 6 0 0




                                                                                  13
                                 Cos ta Mes a, C a l if or n i a 9 26 2 6




                                                                                                   TOTAL HOURS:        8.00            TOTAL FEES:      $3,225.00
                                                                                  14

                                                                                  15 Blended Hourly Rate for this Time Period (including paralegals):         $403.13

                                                                                  16 Blended Hourly Rate for this Time Period (excluding paralegals):         $600.00

                                                                                  17 The total amount of accrued expenses of administration is set forth in the Trustee's final

                                                                                  18 report which is filed concurrently with this Application.

                                                                                  19

                                                                                  20

                                                                                  21

                                                                                  22

                                                                                  23

                                                                                  24

                                                                                  25

                                                                                  26

                                                                                  27

                                                                                  28
                                                                                       1327000.1                                      20                             FEE APPLICATION
Case 8:18-bk-13010-SC   Doc 186 Filed 06/02/21 Entered 06/02/21 15:45:05   Desc
                        Main Document     Page 21 of 24




                  EXHIBIT 1
      Case 8:18-bk-13010-SC   Doc 186 Filed 06/02/21 Entered 06/02/21 15:45:05   Desc
                              Main Document     Page 22 of 24
                    WEILAND GOLDEN GOODRICH LLP
                        650 TOWN CENTER DRIVE - SUITE 600
                          COSTA MESA, CALIFORNIA 92626
                              TELEPHONE: 714-966-1000
                             FEDERAL TAX I.D. XX-XXXXXXX



                                     MAY 28, 2021


JEFFREY GOLDEN OF COUNSEL                                           OUR FILE: GOL02.0045
650 TOWN CENTER DRIVE, SUITE 950
COSTA MESA, CA 92626

RE:    LIEZL & JULIUS DEOCAMPO
       INVOICE # 4325
       RESPONSIBLE ATTORNEY: JEFFREY GOLDEN

STATEMENT OF ACCOUNT FOR SERVICES RENDERED THROUGH MAY 28, 2021

UNPAID BALANCE FORWARD                                                           $ 60,832.50

PROFESSIONAL SERVICES

ASSET ANALYSIS AND RECOVERY

01/08/21   CBM PREPARATION OF NOTICE OF INCREASED                0.20   @250          50.00
               HOURLY RATES
01/14/21   RJB PREPARATION OF UPDATE TO TRUSTEE                  0.50   @600         300.00
01/15/21   RJB REVIEW AND REVISE UPDATE TO TRUSTEE               1.00   @600         600.00
02/03/21   RJB EXCHANGE OF CORRESPONDENCE WITH                   0.20   @600         120.00
               TRUSTEE RE UD COUNSEL
05/17/21   RJB EXCHANGE OF CORRESPONDENCE WITH                   0.20   @600         120.00
               TRUSTEE RE OUTSTANDING ISSUES

            TOTAL ASSET ANALYSIS AND RECOVERY                    2.10            $ 1,190.00

FEE APPLICATIONS

12/04/20   CBM PREPARATION OF TRUSTEE’S                          0.30   @250          75.00
               DECLARATION RE INTERIM FEE
               APPLICATION
12/14/20   CBM REVIEW TRUSTEE’S INSTRUCTION RE HIS               0.10   @250          25.00
               DECLARATION
12/14/20   CBM REVIEW COURT’S INSTRUCTION TO FILE                0.10   @250          25.00
               TRUSTEE’S DECLARATION
12/14/20   CBM PREPARATION OF INTERIM FEE                        0.20   @250          50.00
12/15/20   CBM PREPARATION OF INTERIM FEE ORDER                  0.40   @250         100.00
12/16/20   RJB REVIEW AND REVISE FEE ORDER                       0.10   @600          60.00
12/16/20   CBM PREPARATION OF INTERIM FEE ORDER                  0.10   @250          25.00
12/16/20   CBM REVIEW ENTERED FEE ORDER                          0.10   @250          25.00
04/27/21   CBM PREPARATION OF FINAL FEE APPLICATION              0.20   @250          50.00
04/29/21   CBM PREPARATION OF FINAL FEE APPLICATION              0.40   @250         100.00
                                 EXHIBIT 1     PAGE 21
      Case 8:18-bk-13010-SC   Doc 186 Filed 06/02/21 Entered 06/02/21 15:45:05      Desc
                              Main Document     Page 23 of 24
PAGE 2
MAY 28, 2021
STATEMENT OF ACCOUNT FOR SERVICES RENDERED THROUGH MAY 28, 2021
LIEZL & JULIUS DEOCAMPO
OUR FILE: GOL02.0045

05/10/21   CBM PREPARATION OF FINAL FEE APPLICATION                   0.40   @250      100.00
05/11/21   CBM REVIEW AND REVISE INVOICE IN                           0.20   @250       50.00
               PREPARATION OF FINAL FEE APPLICATION
05/11/21   CBM PREPARATION OF FINAL FEE APPLICATION                   0.30   @250       75.00
05/14/21   CBM PREPARATION OF NARRATIVE OF FINAL                      0.90   @250      225.00
               FEE APPLICATION
05/14/21   CBM EXCHANGE OF E-MAIL WITH L. WERNER RE                   0.10   @250        25.00
               ESTATE FUNDS
05/17/21   CBM PREPARATION OF FINAL FEE APPLICATION                   0.50   @250      125.00
05/17/21   RJB REVIEW AND REVISE FINAL FEE                            1.50   @600      900.00
               APPLICATION

            TOTAL FEE APPLICATIONS                                    5.90          $ 2,035.00


                               SUMMARY OF SERVICES

CBM CYNTHIA B. MEEKER              4.50 hrs @ 250.00   $   1,125.00
RJB REEM J. BELLO                  3.50 hrs @ 600.00   $   2,100.00


            TOTAL PROFESSIONAL SERVICES                               8.00          $ 3,225.00

COSTS AND DISBURSEMENTS

  DATE                                DESCRIPTION                                   AMOUNT

12/01/20   WESTLAW ONLINE RESEARCH CHARGES FOR DECEMBER 2020                           109.98
02/01/21   WESTLAW ONLINE RESEARCH CHARGES FOR JANUARY 2021                             55.80

           TOTAL COSTS AND DISBURSEMENTS                                            $ 165.78

TOTAL CURRENT CHARGES                                                               $ 3,390.78




                                 EXHIBIT 1      PAGE 22
        Case 8:18-bk-13010-SC                     Doc 186 Filed 06/02/21 Entered 06/02/21 15:45:05                                      Desc
                                                  Main Document     Page 24 of 24



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                            650 Town Center Drive, Suite 600
                                               Costa Mesa, California 92626

A true and correct copy of the foregoing document entitled (specify): Second and Final Application for Allowance and
Payment of Fees and Reimbursement of Expenses of Counsel for the Chapter 7 Trustee; Memorandum of Points and
Authorities; and Declaration of Reem J. Bello in Support will be served or was served (a) on the judge in chambers in the
form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
June 2, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
Reem J Bello rbello@wgllp.com,
kadele@ecf.courtdrive.com;vrosales@wgllp.com;cyoshonis@wgllp.com;cbmeeker@gmail.com;lbracken@wgllp.com
Brett F Bodie brett.bodie@blc-sd.com, 9135191420@filings.docketbird.com
Jeffrey I Golden (TR) lwerner@wgllp.com, jig@trustesolutions.net;kadele@wgllp.com
James D. Hornbuckle jdh@cornerstonelawcorp.com
Ahren A Tiller ahren.tiller@blc-sd.com, 4436097420@filings.docketbird.com;brett.bodie@blc-sd.com;anika@blc-
sd.com;derek@blc-sd.com;kreyes@blc-sd.com;megan@blc-sd.com;nicole@blc-sd.com;danny@blc-sd.com;angie@blc-
sd.com
Edward A Treder cdcaecf@bdfgroup.com
United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) June 2, 2021, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.
Julius B. Deocampo
Liezl Diaz Deocampo
14332 Holt Avenue
Santa Ana, CA 92705-3263

Honorable Scott C. Clarkson
United States Bankruptcy Court
Central District of California
Ronald Reagan Federal Building and Courthouse
411 West Fourth Street, Suite 5130 / Courtroom 5C
Santa Ana, CA 92701-4593
                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) June 2, 2021, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
                                                                            Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 6/2/2021                       Lindsay Bracken
 Date                           Printed Name                                                    Signature
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
